The above opinion of Judge Bayard B. Shields is a very strong and able opinion, but under the rule of "the law of the case," which as to the main point here involved, was, as I view it, settled by the majority opinion and decision of this *Page 433 
court in the case of Watts, et al., v. Newport, in re the administration of the estate of Letitia V. Graham, deceased,151 Fla. 209, 9 So.2d 417, I must dissent. While under our former decision there might be some dispute as to the reasonableness of the amount of attorneys' fees to be allowed to the appellants, which matter was of course subject to adjudication, I think that under our former decision, above cited, appellants were and are entitled to reasonable compensation, and that the judgment appealed from should be reversed.
CHAPMAN, C. J., and BUFORD, J., concur.